JS 44 (Rev 06/17)
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                                                     Case
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                                                                 2:18-cv-05175-CDJ Document 1 Filed 11/30/18
                                                                CJ'l'l.S      -~IVIL COVER SHEET
The JS 44 civil cover s~et and the mfonnat1on contamed herem neither replace nor supplement the filmg and service of pleadmgs or other papers as reqmred by law, except as
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provided by local rules'f>'fcourt This form. approved by the Judicial Conference of the Umted States m September 1974, 1s reqmred for the use of the Clerk of Court for the
purpose of m1tlatmg tht;, CIVIi doc      e        IN.  UCTTONS ON NtXI PAGE Of THIS FORM J

 I. (a) PLAINTIFFS                                                                                                                                              DEFENDA."'i"TS
                                                                                                                                                              PORSCHE CARS NORTH AMERICA. INC and                                                                                     F.
 JOSEPH EDWARq ~IAD                                                                                                                                           PORSCHE AKTIENGELLSCHAFT
                                         \,,.,;\        '
      (b) County of Residence of Fust Listed Plamttff                                                                                                           County of Residence of Fust Listed Defendant                                                                          ermany
                                                   (EXCEPT IN US PLAINTIFF CAS . D                                                                                                                       (IN US PLAINTIFF CASE
                                                                                                                                                                 NOTB           IN LAND CONDEMNATION CASES, U
                                                                                                                                                                                nlE TRACT OF LA."ID INVOLVED

 M~l~ttQ~~!, ~ral!.rSW'ephone Numb 1                                                                                                                              Attorneys (If Known}
 509 Schoolhouse Road
 Kennett Square. PA 19348
 t/ 4,                         .I                    . icia~.r,,~~
 II. BASIS OF JURISDICTION fPtacean "X" inOneBoxOnlyJ                                                                                      III. CITIZENSHIP
                                                                                                                                                          (For Diversity Cases
:'.'1 I {; S Government                                     :'.'1 3 Federal Question
               Plamuff                                                (US Government Not a Party}                                                 C1uzen of Tlus State                                                     Incorporated or Pnnc1pal Place
                                                                                                                                                                                                                             ofBusmess Tlus State
                                                                                                                                                                                                                                                                              CJf)44
'1 2 C S Government                                                                                                                               C111Zen of Another State                       CJ 2                                                                         o s      !lits
               Defendant

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 IV. NATL'RE OF SU                                                                                                                                                                                             Chck here for Nature of Suit Code Descn tlons
                                                                                                                                                                                                                  BANKRL~TC                                       OTHER STATUTES
CJ I IO Insurance                                               PERSONAL INJl,'RY                                 PERSONAL INJt:RY                            CJ 625 Drug Related Seizure       :'.'1 422 Appeal 28 USC 158                            :'.'1   375 False Chums Act
CJ 120 Manne                                                CJ 310 Airplane                                 :::J 365 Personal Injury ·                                 of Property 21 USC 881   '1 423 Withdrawal                                      '.1     376 Qui Tam ('31 t:SC
::J 130 Miller Act                                         '1 315 Airplane Product                                       Product L1ab1hty                     CJ 690 Other                                  28 USC 157                                               3729(a))
t1 140 Negouable Instrument                                             L1ab1hty                            :J 367 Health Care/                                                               t-"ni>ru;;;;'ivr;:;n;;::;c;;r.;:---t :::J                        400 State Reappomonment
CJ I 50 Recovery of Overpayment                             CJ 320 Assault, Libel &                                     Pharmaceu!lcal                                                        l-_...~.,....,......_.,...,,'"'.._--1 '.1                        410 Ann trust
        & Enforcement of Judgment                                       Slander                                         Personal Injury                                                                                                                CJ      4 30 Banks and Bankmg
t1 151 Medicare Act                                         '.1 330 Federal Employers'                                  Product L1ab1hty                                                                                                               CJ      450 Commerce
0 I 52 Recovery of Defaulted                                            Lmbihty                             rJ 368 Asbestos Personal                                                                                                                   CJ      460 Deportation
        Student Loans                                       CJ 340 Marme                                                 Injury Prodnct                                                                                                                CJ      4 70 Racketeer Influenced and
        (Excludes Veterans)                                 CJ 345                 Product                               L1abtl1ty                                                                                                                                  Corrupt Orgamzauons
t1 I 53 Recovery of Overpaym t                                          Liab1hty                                 PERSONAL PROPERTY t===LAfilii:===:t:l~jlj~&QfliffiC=::l :::J                                                                                  480 Consumer Credit
        of Veteran's Benefits                               CJ 35 Motor Vehicle                             CJ 370 Other Fraud                                CJ 710 Farr Labor Standards       t1 861HIA(l395ff)                                      '.1     490 Cable/Sat TV
CJ 160 Stockholders' Suits                                 ~3 Motor Vehicle                                 rJ 371 Truth m Lendmg                                      Act                      'J 862 Black Lung (92.3)                               CJ      850 Secunties/Commodltiesl
CJ 190 Other Contract                                                  Product Liab1hty                     :'.'1 380 Other Personal                          CJ 720 Labor/Management           '1 863 DIWC/DIVvW (405(g))                                          Exchange
'.1 195 Contract Product Lia                                '.1 60 Other Personal                                       Property Damage                                Relallons                :::J 864 SSID Title XVI                                '.1     890 Other Statutory Actions
CJ 196 Franchise                                                       Injury                               CJ 385 Property Damage                            '.1 740 Railway Labor Act         0 865 RSI (405(g))                                     CJ      891 AgncU:rural Acts
                                                                362 Personal Injury ·                                   Product Liability                     '.1 751 Family and Medical                                                               :J      893 Envrronmental Matters
                                                                       Medical Mal acuce                                                                               Leave Act              1-..,,,,~,.,,,..,.,,...,,,,..,.,,.,...,,.,.,,,,,,,,..--1 '.1     895 Freedom of Informauon
'----'REA="°'L:.:.:.PR=O..,l}'.o:E:.:R.o.TY.,,__-+--'C"'l\i..,_,,'IL'"'-"R:.:.lG,.HTS...,,,"'---+-'P""R""I""SO=-:N.:.:E:.;:R.,.P.:;E::.:T""IT~I.,.O"'N""S'--1 '1 790 Other Labor L1t1gauon            FEDERAL 'IAX Sl'ITS                                           Act
 CJ 210 Land Condemnation                                  '1 440 Other Civil Rights                              Habeas Corpus:                              CJ 791 Employee Retirement        CJ 870 Taxes (US Plamt1ff                              '.1     896 Arb1tratiou
 CJ 22C Foreclosure                                        ('J 441 Voung                                    0 46 3 Ah en Detamee                                      Income Secunty Act                    or Defendant)                              :::J    899 Admmtstrauve Procedure
 '.'J 230 Rent Lease & Ejectment                            CJ 442 Employment                               rJ 510 Mouons to Vacate                                                             0 871 IRS-ThtrdParty                                                Act'RevJew or Appeal of
 CJ 240 Torts to Land                                      :::J 443 Hoosmg/                                             Sentence                                                                            26 t:SC 7609                                            Agency Dec1s1on
 '.1 245 Tort Product Liability                                        Accommodat10ns                       :'.'1 5 30 General                                                                                                                         :::J    950 Constitutional1ty of
 CJ 290 All Other Real Property                            t1 445 Amer w/Dtsab1hues - :::J 535 Death Penalty                                                           IMMIGRATION                                                                                  State Statutes
                                                                       Employment                                 Other:                                      CJ 462 Natural1zauon Apphcauon
                                                           :::J 446 Amer w/D1sabilities - 0 540 Mandamns & Other :J 465 Other ln!m1grauon
                                                                       Other                                0 550 CIVll Rights                                        Actions
                                                           ::1 448 Educallon                                CJ 555 Pnson Conchl!on
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                                                                                                                        Condiuons of
                                                                                                                        Confinement
V. ORIGIN (Ptacean "X"mOneBoxOnlyJ
'.1 I Ongmal                          '.1 2 Removed from                             ::1 3         Remanded from                         CJ 4 Remstated or                    '.1 5 Transferred from                       ::J 6 Mult1d1stnct                        '.1 8 Mult1d1stnct
           Proceedmg                               State Court                                     Appellate Court                            Reopened                                  Another D1stnct                          L1t1gat10n -                              Litigation -
                                                                                                                                                                                        (specify,                                Transfer                                  Direct F!le
                                                               Cite the U S C1v1I Statute under which you are filmg (Do not elk jurisdictional statutes unless diversity,
VI. CAUSE OF ACTION ......2...a....u
                                   .....__s.c
                                           _______s__ec....ti__o__ 13__3__2_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                n __
                                                               Bnef descn,ptmn of cause
                                                               Bodily m1uury due to inhaling toxic fumes from defective 2004 Porsche Cayanne Turbo SUV.
VII. REQUESTED IN     ~ CHECK IF THIS IS A CLASS ACTION                                                                                                DEMAND $                                                       CHECK YES or!ly 1f
     COMPLAINT:          UNDER RL'LE 23, FR Cv P                                                                                                                                                                      JUff DEMAND:
VIII. RELATED CASE(S)
                       (See mstrnctions;
      IFANY                                                                                                                                                                                                DOCKE1 NUMBER
DATE
 11/30/2018
FOR OFFICE USE ONLY

     RFCEIPT        #                              AMOL'N1                                                     APP:. YING lFP                                                       JCDGE                                             MAG JUDGE
                                      Case 2:18-cv-05175-CDJ    Document   1 Filed  11/30/18 Page 2 of 15
                                                        CNJTED STA TES DISTRICT COURT
                                                                                                                                                       18
                                          .

                                          .   ·   J
                                                  .
                                                       -       FORTHEEASTERNDISTRICTOFPENNSYLVANIA

                                                                    '\             DESIGNATION FORM
                                      by counsel or prose plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)
                                                                   509 Schoolhouse Road, Kennett Square, PA 19348
                                                                                                                                                                        5175
Address of Plaintiff: - - - - - - - - - - - - - -
Address of Defendant: _ _ _ _9_80 Hammon                                      Drive, St. 1000, Atla~t~, _Geor_g_ia_& _Stuttgart, Germ_a_n_y____
                                                                                                PA, Chester County
Place of Accident, Incident or Transaction:



RELATED CASE, IF ANY:

Case Number                                                              Judge: __ __ ______ __ _ ___ _                              Date Terminated·
                       ---------
Civil cases are deemed related when Yes 1s answered to any of the following questions.

l.       Is this case related to property included in an earlier numbered suit pending or within one year                               YesD                  NoD
         previously tenrunated action m this court?

2        Does this case mvolve the same issue of fact or grow out of the same transaction as a pnor smt                                 YesD                  NoD
         pendmg or w1thm one year previously termmated action in this court?

3.       Does this case mvolve the validity or mfringement of a patent already in suit or any earlier                                   YesO                  NoD
         numbered case pendmg or within one year prev10usly termmated action ofth1s court?

4.       Is this case a second or successive habeas corpus, social security appeal, or pro se civil nghts                               YesD                  NoD
         case filed by the same md1V1dual?

I certify that, to my knowledge, the within case                                                                           ng or withm one year previously terminated act10n m
this court except as noted above.

DATE          Ltp-~1 @_~_ __,,,                                                                                                             ,;?1,5D82-
                                                                                                                                                   Attomey ID   # (if applicable)



CIVIL: (Place a -.; in one category only)

A.               Federal Question Cases:                                                            B.    Diversity Jurisdiction Cases:

         1   Indemnity Contract, Marme Contract, and All Other Contracts                                  I     Insurance Contract and Other Contracts
         2.  FELA                                                                                         2.    Airplane Personal Injury
         3 Jones Act-Personal Injury                                                                      3.    Assault, Defamat10n
         4   Antitrust                                                                                    4.    Manne Personal Injury
         s Patent                                                                                         s.    Motor Vehicle Personal Injury
         6. Labor-Management Relations                                                                    6.    Other Personal Injury (Please specify) _ _ _ _ _ _ _ __
         7   Civil Rights                                                                                 7.    Products Liabthty
         8   Habeas Corpus                                                                                8.    Products Liability Asbestos
         9. Secunties Act(s) Cases                                                                        9.    All other Diversity Cases
         10. Social Security Review Cases                                                                       (Please specify)
         11. All other Federal Question Cases
                 (Please specify) .               __   __ _



                                                                                     ARBITRATION CERTIFICATION
                                                           (The effect of this certification 1s to remove the case from elig1b1/ity for arbitration)

I,

                 Pursuant to Local Civil Rule 53 2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable m this civil act10n case
                 exceed the sum of $150,000.00 exclusive of interest and costs

                                                                                                                                                       NOV 30 2018
              11/30/2018                                                                                                                                 315082
DATE.
                                                                                                                                                   Attorney ID #(if applicable)

NOTE A tnal de novo wtll be a tnal by JUI)' only 1fthere has been cornphance with FR C P 38

Civ   609 fS/20 t 8)
                         Case 2:18-cv-05175-CDJ Document 1 Filed 11/30/18 Page 3 of 15
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                              ~JFOR-TIE
                                   L""J ·HE ~ITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF PEN~SYL VANIA

     .--- .                           CASE MANAGEME:'.'JT TRACK DESIG~ATIO:'.'J FOR.1\1
     J~\)Y\~~~
                                                                :                          CIVIL ACTION

                                        v.                       :                                      n~        51175
'\>coc~L.~~~ -~. ~;;;                               :
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      ---~ ~. c. <='r.:?   /       ,    ,a.t\   "~:                                        NO.
D1               > . \ c.<:SC~ ~w-\· ,enO'" a:Y\4 ,
              In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
              plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
              filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
              side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
              designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
              the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
              to which that defendant believes the case should be assigned.

              SELECT         O~'E   OF THE FOLLOWI:'.'JG CASE        MA~AGEME:'.'JT   TRACKS:

              (a) Habeas Corpus - Cases brought under 28 U.S.C. § 2241 through§ 2255.                             ( )

              (b) Social Security - Cases requesting review of a decision of the Secretary of Health
                  and Human Services denying plaintiff Social Security Benefits.                                  ( )

              (c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.      ( )

              (d) Asbestos - Cases involving claims for personal injury or property damage from
                  exposure to asbestos.                                                                            ( )

              (e) Special Management - Cases that do not fall into tracks (a) through (d) that are
                  commonly referred to as complex and that need special or intense management by
                  the court. (See reverse side of this form for a detailed explanation of special
                  management cases.)

              (f) Standard Management        Cases that do not fall into any one of the other tracks.




              Date
                                             \'-'\ '~ufy}; &
                                                  Attorney-at-law
                                                                          "       i1CGcID4
                                                                                      Attorney for
                                                                                                   ~~\or\
          If_8 '1 72>/Lf';h 3                     ~\8                             ffi,cta\a.. ecm@9@t1. COY)
              Telephone                           FAX Number                           E-Mail Address


              ( Civ. 660) 10102




                                                                                                   NOV 30 2018.
       Case 2:18-cv-05175-CDJ Document 1 Filed 11/30/18 Page 4 of 15



                                                                                     APPENDIXG

                            UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA
Joseph Edward Riad
                                                                                     18         51'75
                v.                                                    Civil Action
Porsche Cars North America. lnc.                                      No: - - - - - - - -
and
Dr. ING. h.c.F. Porsche Aktiengellshaft
                              DISCLOSURE STATEMENT FORM

Please check one box:

                The nongovernmental corporate party, - - - - - - - - - - - - -
                ' in the above listed civil action does not have any parent corporation and
                publicly held corporation that owns 10% or more of its stock.

                The nongovernmental corporate party, _ _ _ _ _ _ _ _ _ _ _ __
                , in the above listed civil action has the following parent corporation(s) and
                publicly held corporation(s) that owns 10% or more of its stock:

                Porsche Automobile Holding SE Pfd., owns Volkswagen, AG, which in turn
                owns Defendant, Dr. ING. h.c.F. Porsche Aktiengellshaft and Defendant Porsche
                Cars North America. Inc. is a wholly owned subsidiary of Defendant, Dr. ING.
                h.c.F. Porsche Aktiengellshaft.




11130/2018
       Date

                                Counsel for:   Plaintiff, Joseph Edward Riad



Federal Rule of Civil Procedure 7.1 Disclosure Statement
      (a)   WHO MusT FtLE; CONTENTS. A nongovernmental corporate party must file
            two copies of a disclosure statement that:
            (1)    identifies any parent corporation and any publicly held corporation
                   owning10% or more of its stock; or

                (2)     states that there is no such corporation.

        (b) TIME To FtLE; SUPPLEMENTAL FILING. A party must:
               (1)    file the disclosure statement with its first appearance, pleading,
                      pet1t1on, motion, response, or other request addressed to the court;
                      and
               (2)    promptly file a supplemental statement if any required information
                      changes.
     .....Case 2:18-cv-05175-CDJ
                             --         ...
                                              Document 1 Filed 11/30/18 Page 5 of 15
      _,'



                                                                                        APPENDIXG

                              UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
Joseph Edward Riad



                   v.                                                    Civil Action
                                                                                        ne         5175
Porsche Cars North America, Inc.                                         No: - - - - - - - -
and
Dr. ING. h.c.F. Porsche Aktiengellshaft
                                 DISCLOSURE STATEMENT FORM

Please check one box:

[]                 The nongovernmental corporate party, - - - - - - - - - - - - -
                   , in the above listed civil action does not have any parent corporation and
                   publicly held corporation that owns 10% or more of its stock.

                   The nongovernmental corporate party, - - - - - - - - - - - - -
                   ,in the above listed civil action has the following parent corporation(s) and
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                   Porsche Automobile Holding SE Pfd., owns Volkswagen, AG, which in turn
                   owns Defendant, Dr. ING. h.c.F. Porsche Aktiengellshaft and Defendant Porsche
                   Cars North America, Inc. is a wholly owned subsidiary of Defendant, Dr. ING.
                   h.c.F. Porsche Aktiengellshaft.




11130/2018
            Date

                                  Counsel for:     Plaintiff, Joseph Edward Riad



Federal Rule of Civil Procedure 7.1 Disclosure Statement
        (a)        WHo MusT FILE; CONTENTS. A nongovernmental corporate party must file
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                      and
               (2)    promptly file a supplemental statement if any required information
                      changes.
                 Case 2:18-cv-05175-CDJ Document 1 Filed 11/30/18 Page 6 of 15


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  ./- _________'_N_T_H_E_U_N_IT_E_D_S_T_A-TE-S--Dl-S-TR_l_C_T_C_O_U_RT----------~
L\\                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       JOSEPH EDWARD RIAD
       509 Schoolhouse Road
       Kennett Square, Pennsylvania 19348

                     Plaintiff,
                                                                            1l0        5175
       vs.                                                    Case No.: _ _ _ _ __

       PORSCHE CARS NORTH
       AMERICA, INC.
       980 Hammond Drive
       Suite 1000
       Atlanta, Georgia 30328

              SERVE:
              CT Corporation System
              1515 Market Street
              Suite 1210                                   COMPLAINT AND JURY DEMAND
              Philadelphia, PA 19102

       and

       DR. ING. H.C.F. PORSCHE
       AKTIENGELLSCHAFT
       Porscheplatz 1,
       D-70435
       Stuttgart, Germany

                     Defendants.


                                             COMPLAINT

              Comes now the Plaintiff, Joseph Edward Riad by and through his attorney, Mickala

       L. Rector, Esq. of Rector Law Offices and Richard E. Schimel, Esq., of the Law Offices

       of Richard E. Schimel, LLC and sues the Defendants Defendant Dr. Ing. h.c. F. Porsche

       Aktiengellschaft and Porsche Cars North America, Inc., and for his cause of actions states

       as follows:
            Case 2:18-cv-05175-CDJ Document 1 Filed 11/30/18 Page 7 of 15




                                  Jurisdiction and Venue

       1.      This Court has jurisdiction over this case based upon diversity of citizenship

pursuant to 28 USC §1332.         Specifically, the Plaintiff is a resident of the State of

Pennsylvania and the Defendant Porsche Cars North America, Inc. is a Georgia

corporation with its principal place of business in Atlanta, Georgia and Defendant Dr. Ing.

h.c. F. Porsche Aktiengellschaft is a German Company based in Stuttgart, German.

       2.      This Honorable Court has personal jurisdiction over Defendants because

Defendants had systematic and continuous contacts with this Commonwealth and placed

their products in a stream of commerce within this Commonwealth.

       3.      Venue is proper in the Eastern District of Pennsylvania pursuant to 28 USC

§1391(b)(2) and §1391(c)(2) based on the fact that a tort occurred in the State of

Pennsylvania which caused personal injury to the Plaintiff.

                                    Factual Allegations

       4.      At all times pertinent to this lawsuit, Plaintiff Joseph Edward Riad

maintained a residence at 509 Schoolhouse Road, Kennett Square, Pennsylvania.

       5.      At all times pertinent to this lawsuit, Defendant Porsche Cars North

America, Inc. ("Porsche Cars, Inc.") had its principal place of business in Atlanta, Georgia

and was a corporation licensed in the State of Georgia.

       6.      At all times pertinent to this lawsuit, Defendant Dr. Ing. h.c. F. Porsche

Aktiengellschaft ("Porsche AG") is a German Company based in Stuttgart, German

having an address of Porscheplatz 1, D-70435 Stuttgart, Germany. Porsche Cars, Inc.,

was the wholly-owned subsidiary and exclusive importer for Porsche AG. Porsche AG




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was the manufacturer and designer of Porsche vehicles, including, without limitation, the

Porsche Cayenne Turbo.

      7.      Plaintiff Joseph Edward Riad purchased a 2004 Porsche Cayenne Turbo

SUV from Mercedes Benz of Wilmington on or about April 26, 2011.

      8.      The Plaintiff regularly maintained his Porsche vehicle.

      9.      This particular model Porsche became the subject of a manufacturer's recall

campaign due to a problem with a defective cooling pipe system for the vehicle.

Specifically, defective plastic cooling tubes had fractured over time, and had to be

replaced with aluminum cooling tubes.

      10.     On or about December 1, 2016, the Plaintiff was driving his vehicle and

noticed that the engine was hesitating. In addition, the cooling warning light illuminated

and he visually observed coolant fluid leaking from the vehicle.

      11.     The Plaintiff stopped his vehicle and called his Porsche dealership from his

cell phone while in his vehicle to seek guidance as to how to proceed.

      12.     The dealership gave him a phone number for the Defendant(s), suspecting

that the problem of which the Plaintiff was complaining was the result of leakage from

the defecting coolant valve.

      13.     A manufacturer's representative from Porsche advised Mr. Riad that he

should not worry about the situation because it was not a major issue.

      14.     That same manufacturer's representative told Mr. Riad that there was no

need to have the vehicle towed because the coolant leakage would not damage the car

if he continued to drive.




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        Case 2:18-cv-05175-CDJ Document 1 Filed 11/30/18 Page 9 of 15




      15.    Mr. Riad was further instructed to drive his vehicle to the nearest service

dealership so that it could be inspected and repaired.

      16.    At no point in time did the Porsche representative advise Mr. Riad that there

were any health risks whatsoever to driving his vehicle if it was leaking coolant fluid.

      17.    Accordingly, pursuant to instructions, Mr. Riad proceeded to drive his

vehicle to the nearest Porsche dealership, to wit, Porsche of Delaware, Newark,

Delaware ("Newark Porsche").

      18.    That dealership was approximately 15 miles away from the point at which

Mr. Riad had this discussion with the Porsche representative.

      19.    During the drive to Newark Porsche, Mr. Riad noticed vapors coming out

from under the hood of his vehicle.

      20.    Once again, Mr. Riad stopped his vehicle and called back Porsche

representative to advise him of the situation. Specifically, Mr. Riad advised the Porsche

representative that steam was coming of the engine block of the vehicle.

      21.    Once again, the Porsche representative advised Mr. Riad that there were

"no worries" and that he should continue to drive the vehicle to the service dealership.

      22.    Mr. Riad complied with this instruction and continued to drive to Newark

Porsche.

      23.    During the drive to Newark Porsche, white smoke began emanating through

the air conditioning vents of the vehicle and into the interior of the car where Mr. Riad

was seated in the driver's seat.

      24.    During this time, Mr. Riad inhaled the smoke, and felt light- headed and sick.




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      25.    Because the Porsche representative refused to tow the vehicle, Mr. Riad

felt compelled to continue to drive to Newark Porsche with the windows down and his

head sticking out of the window.

      26.    When Mr. Riad arrived at Newark Porsche, he was extremely nauseous.

He stumbled out of his car and lay on the ground.

      27.    At that point in time, service manager Mike Adams approached him and

observed Mr. Riad's condition. He asked Mr. Riad why he drove the vehicle rather than

having it towed, and explained to him for the first time that Mr. Riad had been exposed

to toxic fumes.

      28.    Mr. Riad sought medical help and went to Jennersville Hospital, where he

was given an oxygen mask to breathe.

      29.    He remained in the hospital all day.

      30.    Subsequent to discharge, Mr. Riad visited his primary physician, Uzma

Quarashi, M.D., in Kennett Square, Pennsylvania.

      31.    Mr. Riad was directed to seek treatment with Dr. Uzma Quarashi and he

was prescribed with an inhaler to assist his labored breathing.

      32.    Mr. Riad received subsequent evaluation and treatment by a pulmonologist

(Dr. Gaurav J. Patel, MD) in West Chester, Pennsylvania.

      33.    Spirometry testing by Dr. Patel reflected a positive finding of permanent lung

damage as a result of exposure of toxic fumes.

      34.    Said doctor diagnosed Mr. Riad with asthma, and prescribed a Breo Ellipa

200/25 inhaler for him.




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      35.     Several days after the incident of December 1, 2016, Mr. Riad called the

Defendant(s)' Customer Service Department to advise of his ordeal.

      36.     The person responding to his call stated: "It's a shame you didn't die. Now

we have to deal with you."

      37.     Plaintiff is and always has been a non-smoker. He does not consume

alcohol.

      38.     Prior to the date of this incident, Plaintiff had been physically fit and did not

suffer from any breathing or pulmonary deficiencies.

      39.     Prior to the date of this incident, Plaintiff enjoyed activities such as soccer,

martial arts and weight-lifting.

      40.     As a direct and proximate result of being exposed to toxic vapors from

leaking coolant fluid from his Porsche Cayenne Turbo SUV, Mr. Riad has suffered

serious and permanent bodily injury for which he seeks compensation from the

Defendants.

      41.     Prior to the date of this incident, the Plaintiff engaged in physically

demanding work, to wit, managing a farm located at 620 Baltimore Pike, West Grove,

Pennsylvania.

      42.     As a direct and proximate result of the aforementioned exposure to toxic

fumes, the Plaintiff estimates that he is 60% weaker than he was before the injury, which

poses challenges for his occupation.

      43.     He experiences severe shortness of breath all of the time and has

experienced acid reflux since the incident occurred. He has also experienced severe

hacking coughs and ear and eye infections.



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      44.    As a direct and proximate result of this occurrence, the Plaintiff has

sustained a permanent injury to his lungs, which affects his activities of daily living and

his occupation as a farmer.

      45.     Plaintiff describes the breathing sensation as, "Scary, all of a sudden you

cannot breathe normally-your breath is taken from you."

      46.     Because he has now been diagnosed with asthma, he will need to purchase

inhalers on a monthly basis for the rest of his life in order to be able to breathe effectively.

      47.     In addition, the Plaintiff has experienced, and will continue to experience for

the rest of his life, significant pain, suffering, mental anguish and anxiety as a direct and

proximate result of the injuries sustained as a result of the occurrence described above.



                                  Count I (Strict Liability)

 Riad vs. Dr. Ing. H.c.f. Porsche Aktiengellschaft and Porsche Cars North America, Inc.

      48.    The Plaintiff hereby adopts and incorporates by reference all of the Factual

Allegations set forth above as if fully set forth herein in this Count I.

      49.    The motor vehicle in question was manufactured by and placed into the

stream of commerce and sold by Defendants Dr. Ing. H.c.f. Porsche Aktiengellschaft and

Porsche Cars North America, Inc. in a defective and unreasonably dangerous condition.

      50.    Specifically, the engine of said vehicle was equipped with plastic coolant

pipes that would and did prematurely degrade or fracture, thereby allowing the escape

and evaporation of coolant into the passenger portion of the vehicle, thereby exposing

its occupants to toxic fumes.




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           51.       The vehicle in question reached the Plaintiff without any substantial change

    in its condition from the time of manufacture until the time of the injury alleged above.

           52.       The subject vehicle was in a defective condition from the time it left the

    Defendants.

           53.       The vehicle in question was unreasonable dangerous to consumer such as

    the Plaintiff.

           54.       The vehicle was expected to and did reach the Plaintiff/consumer without

    substantial change in its condition.

           55.       The defect described above was the proximate cause of Plaintiff's injuries.



                               Count II (Negligence - Failure to Warn)

    Riad vs. Dr. Ing. H.c.f. Porsche Aktiengellschaft and Porsche Cars North America, Inc.

           56.       The Plaintiff hereby adopts and incorporates by reference all of the Factual

    Allegations set forth above as if fully set forth in this Count II.

           57.       The Defendants had actual knowledge that the subject vehicle was

    equipped with plastic coolant pipes that could prematurely degrade or fracture.

           58.       This defect was the subject of a class action lawsuit, to wit, In re: Porsche

    Cars North America, Inc. Plastic Coolant Tubes Products Liability Litigation, Case No.

    2:11-md-2233 (S.D. Ohio, Eastern Division) which included current and prior owners of

    lessees of a model year 2003-2010 Porsche Cayenne SUV vehicles within the United

    States.      Both new and Porsche approved certified pre-owned vehicles from an

    authorized Porsche dealership were included as Class Vehicles.




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                  59.    Despite having actual knowledge of this defective condition of the result of

            the class action lawsuit, Defendants failed to provide the Plaintiff with notice of said

            defective condition prior to the date of the incident which is the subject of this litigation

            and/or to warn the Plaintiff of the known risks from failure of the defective plastic coolant

            pipes on the subject vehicle.

                  60.    As a direct and proximate cause of the Defendants' failure to warn the

            Plaintiff of this known defective condition, the Defendants voluntarily and with the

            express authorization of the Defendants' representative, drove the subject vehicle for

            approximately 15 miles while being exposed to toxic emanating from the engine of the

            subject vehicle, which had leaked out due to the degradation or fracture of the coolant

            pipes for the vehicle.

                  61 .   Punitive damages should be awarded to Plaintiff and imposed against

            Defendants in this lawsuit: Defendants' conduct as set forth in this Complaint was

            wanton, willful, outrageous and malicious. The Defendants acted with wanton and willful

            disregard for the Plaintiffs rights and safety and such acts and inactions proximately

            caused the injuries to Plaintiff complained of herein.

                  WHEREFORE, for the reasons sated, Plaintiff Joseph Edward Riad demands

            judgment against Defendants Dr. Ing. H.c.f. Porsche Aktiengellschaft and Porsche Cars

            North America, Inc., jointly and severally, for Counts I and II, in the amount of Five Million

            Dollars ($5,000,000.00) plus punitive damages, the cost of maintaining this action and

            any other relief this Honorable Court determines is just and proper.

            Plaintiff, Joseph Edward Riad, hereby demands a jury trial in this action.




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                                                  icka       cto
                                                Pennsylvania attorney ID
                                                509 Schoolhouse Road
                                                Kennett Square, Pennsylvania 19348
                                                (484) 748-1423
                                                Kalarector422@gmail.com
                                                J1/3oJa-cq~




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